                                    UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE

 BEVERLY BOWMAN,                                   )
                                                   )
           Plaintiff,                              )
                                                   )
 v.                                                )       CIV. NO. 2:20-CV-79-DCLC-DCP
                                                   )
 ANDREW SAUL,                                      )
 Commissioner of Social Security,                  )
                                                   )
           Defendant.                              )

                                              ORDER

           Defendant, Andrew Saul, Commissioner of Social Security, by and through J. Douglas

 Overbey, United States Attorney for the Eastern District of Tennessee, having notified the Court

 that the transcript of administrative proceedings pertaining to this case has been prepared, it is

 hereby:

           ORDERED that the STAY entered in this case is LIFTED, and this matter reinstated on

 the docket; and it is further

           ORDERED that Defendant shall file his response to Plaintiff’s Complaint within five (5)

 days of the date of this order.

           IT IS SO ORDERED.
                                                ENTER:



                                               Debra C. Poplin
                                               United States Magistrate Judge




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